Case 2:12-md-02323-AB Document 7232-3 Filed 03/01/17 Page 1 of 5




                     EXHIBIT C
                                                       f/
       Case 2:12-md-02323-AB Document 7232-3 Filed 03/01/17 Page 2 of 5



                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


IN RE: NATIONAL FOOTBALL                              §
LEA GUE PLA VERS' CONCUSSION                          §
LITIGATION                                            §
                                                      §       No. 12-md-2323 (AB)
                                                      §
KEVIN TURNER & SHAWN WOODEN                           §       MDL No. 2323
on behalf of themselves and others simiiarly          §
situated                                              §       Civ. Action No. 14-00029-AB
                                                      §
v.                                                    §
                                                      §
National Football League and                          §
NFL Properties LLC,                                   §
successor-in-interest to NFL Properties, Inc.         §
                                                      §
                                                      §
                                                      §
THIS DOCUMENT RELATES TO:                             §
ALL ACTIONS                                           §



                    DECLARATION OF THE WEBSTER LAW FIRM
             IN SUPPORT OF OBJECTOR ARMSTRONG'S PETITION FOR AN
                          AWARD OF ATTORNEY'S FEES


        Jason C. Webster, declares as follows pursuant to 28 U.S. C. §1746:

        1.      I am the Owner of The Webster Law Finn. I was Counsel to 34 Objectors in what

has been referred to as the "Armstrong Objection". I submit this declaration in support of

Armstrong Objector's Award of Attorneys' Fees in connection with and for services rendered and

expenses incurred for the common benefit of the Settlement Class in the above-captioned

multidistrict litigation ("Action") from January, 2014, through December, 2016. I have persona}

 knowledge of the matters set forth in this declaration and, if called upon, I could and would testify

competently thereto.
       Case 2:12-md-02323-AB Document 7232-3 Filed 03/01/17 Page 3 of 5



       2.      Our firm's role and services were as settlement class objectors. I assisted Richard

Coffman and Mitchell Toups, and their firms, to enhance the class settlement. My primary job

was coordinating the objectors/clients, communicating with our clients, answering questions of

our clients and explaining the process to our clients. I also helped review the objections and obtain

input from our objectors/clients in order to properly determine all objections to the settlement by

our 34 objectors/clients. Our work in objecting substantially enhanced the class settlement as

shown in more detail in the brief and the Declaration of Coffinan and Toups .

        3.     The schedule attached hereto as Exhibit "A" is a detailed summary indicating the

amount of common benefit time spent by the attorneys and paralegals of my firm who were

involved in, and billed fifty or more hours to this Action, and the lodestar calculation for these

individuals based on my firm's current billing rates.           The schedule was prepared from

contemporaneous daily time records regularly prepared and maintained by my firm. Time

expended in preparing this application for attorney's fees and expenses has been excluded.

        4.      The hourly rates for the attorneys and paralegals of my firm included in Exhibit

"A" are the same as the regular rates charged for their services in other contingent matters and

have been accepted by other federal courts in other class action cases prosecuted by my firm.

        5.      The total number of hours expended on the common benefit of this Action by my

 finn during the time period is 262.5 hours. The total lodestar for my firm for those hours is

 $77,460 consisting of attorney and paralegal time.

        6.      My finn's lodestar figures are based solely upon my firm's billing rates, which rates

 do not include charges for expense items. Expense items are billed separately and such charges

 are not duplicated in my finn's billing rates. I am not requesting reimbursement of any expenses.




                                                  2
      Case 2:12-md-02323-AB Document 7232-3 Filed 03/01/17 Page 4 of 5



       7.     As detailed in Exhibit "A" hereto, my firm is seeking reimbursement of a total of

$77,460.00.



                     Mr "hL
       I declare under penalty of perjury that the foregoing is true and correct.

       Executed on                            , 2017, at Houston, Texas.




                                                  3
     Case 2:12-md-02323-AB Document 7232-3 Filed 03/01/17 Page 5 of 5



                                      EXHIBITA

            IN RE: NFL PLA YERS' CONCUSSION INJURY L ITIGATION
                              N o. 12-md-2323-AB

                               TH E WEBSTER LAWFIRM
                                LODESTAR SUM MARY

                               January 2014-December 2016

NAM E                            HOURS       HOURL YRATE    AMOUNT
Jason C. Webster, Attorney        176.50         $400.00          $70,600.00
Denise Garcia, Paralegal           63.50          $85.00           $5,397.50
Christina Nicklas, Paralegal       22.50          $65.00           $1,462.50
Totals                             262.5                          $77,460.00




                                            4
